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       Whitney M.DuPree
       Spire Law,LLC
       1230 PEACHTREE ST STE 1900
       ATLANTA,GA 30309
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                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT

                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                         56 Forsyth Street, N.W.
                                         Atlanta, Georgia 30303


David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.cal 1 .uscourts.gov



                                        October 13, 2023

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Appeal Number: 23-13345-E
Case Style; National Labor Relations Board v. Tackl-It, LLC
Agency Docket Number: 10-CA-291054

Petition for Revievy/Application for Enforcement
Pursuant FRAP 15(c), you are hereby served with the following document that has been filed in
this court:


Application for Enforcement

All counsel must file documents electronically using the Electronic Case Files("ECF")system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at vyww.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Record
Pursuant to FRAP 17(a), an agency must file the record within 40 days after being served with
the petition for review.    FRAP 16 and 17.
   USCA11 Case: 23-13345            Document: 9      Date Filed: 11/16/2023        Page: 3 of 4



Certificate of Interested Persons and Corporate Disclosure Statement("CIP")
Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
11th Cir. R. 26.1-1. In addition:


   • Appellants/Petitioners must file a CIP within 14 days after this letter's date.
   • Appellees/Respondents/Intervenors/Other Parties rhust file a CIP within 28 days after
     this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
   • Only parties represented by counsel must complete the web-based CIP. Counsel must
     complete the web-based CIP,through the Web-Based CIP link on the Court's website,                ,
       on the same day the CIP is first filed.

The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal ofthe
case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
sanctions on counsel, the party, or both.    11th Cir. R. 26.1-5(c).

Mediation
If a Civil Appeal Statement is required to be filed mid the appeal is fully counseled on all sides,
your appeal will be reviewed and considered for mediation. Mediation services are at no cost to
the parties. If no Civil Appeal Statement is required or you or any party to the appeal is self-
represented or pro se then the appeal is not eligible for mediation. See 11th Cir. R. 33-1.

Briefs and Oral Argument in a National Labor Relations Board Proceeding
FRAP 15.1 provides that each party adverse to the National Labor Relations Board in an
enforcement or review proceeding shall proceed first on briefing and at oral argument unless the
court orders otherwise.


Attorney Admissions
Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
this court or for this particular proceeding. See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
appearance form within fourteen (14) days after this letter's date. The Application for
Admission to the Bar and Appearance of Coimsel Form are available on the Court's website.
The clerk generally may not process filings from an attorney until that attorney files an
appearance form. See 11th Cir. R. 46-6(b).

Obligation to Notify Court of Change of Addresses
Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
the party’s or attorney’s addresses during the pendency ofthe case. See 11th Cir. R. 25-7.

Clerk's Office Phone Numbers
General Information:      404-335-6100      Attorney Admissions:         404-335-6122
Case Administration:      404-335-6135      Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125              Cases Set for Oral Argument: 404-335-6141


Enclosure(s)

                                                                                   DKT-8 Agency
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